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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

 WHOLE WOMAN’S HEALTH, et al.,                               )
                                                             )
                                          Plaintiffs,        )
                                                             )         CIVIL ACTION
  v.                                                         )
                                                             )         CASE NO. 21-cv-00616-RP
 AUSTIN REEVE JACKSON, et al.,                               )
                                                             )
                                         Defendants.         )

              PLAINTIFFS’ MOTION TO EXCEED PAGE LIMITS FOR THEIR
                        MOTION FOR SUMMARY JUDGMENT

TO THE HONORABLE COURT:

          Plaintiffs file this Motion for Leave to Exceed Page Limits for their Motion for Summary

Judgment, and would show the Court as follows:

          1. Plaintiffs are requesting this Court to grant summary judgment and declare that Texas

Senate Bill 8 (“S.B. 8”) is unconstitutional and cannot lawfully be enforced, and to issue injunctive

relief.

          2. S.B. 8 poses multiple complex constitutional issues involving rights under the Fourteenth

Amendment to the United States Constitution and the First Amendment to the United States

Constitution and federal preemption. Plaintiffs seek leave to exceed the page limit to provide the

Court with the necessary context for, and the argument and legal authorities in support of, their

multiple claims.

          3. Plaintiffs respectfully request that they be granted leave to exceed the 20-page limit in

Local Rule CV-7(d). Plaintiffs’ Motion for Summary Judgment and Memorandum in Support

Thereof is 50 pages long.




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       WHEREFORE, Plaintiffs respectfully ask the Court to grant their Motion for Leave to

Exceed Page Limits for Plaintiffs’ Motion for Summary Judgment.

Dated: July 13, 2021

Respectfully submitted,

/s/ Christen Mason Hebert
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* Pro hac vice applications forthcoming




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                                CERTIFICATE OF SERVICE


       I certify that, on the 13th day of July, 2021, I electronically filed a copy of the above

document with the Clerk of the Court using the CM/ECF system, and personally served all

Defendants.


                                                         _/s/ Christen Mason Hebert ___________
                                                           Christen Mason Hebert




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                      IN THE UNITED STATES DISTRICT COURT
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                                 AUSTIN DIVISION

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                                      Plaintiffs,      )
                                                       )         CIVIL ACTION
 v.                                                    )
                                                       )         CASE NO. 21-cv-00616-RP
 AUSTIN REEVE JACKSON, et al.,                         )
                                                       )
                                     Defendants.       )
                                                       )
                                                       )


                     [PROPOSED] ORDER GRANTING PLAINTIFFS’
                       MOTION TO EXCEED PAGE LIMITS FOR
                      THEIR MOTION FOR SUMMARY JUDGMENT

       Having considered Plaintiffs’ Motion to Exceed Page Limits for their Motion for a

Summary Judgment, and good cause being shown therefor,

       IT IS HEREBY ORDERED that Plaintiffs’ Motion is GRANTED.



Dated: _________________________




                                                      _________________________________
                                                       UNITED STATES DISTRICT JUDGE




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